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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : Hon. Leda Dunn Wettre
v. : Mag. No. 20-13016
LAMAR WEST : Criminal Complaint

I, Angel Casanova, being duly sworn, state the following is true and correct
to the best of my knowledge and belief:

SEE ATTACHMENT A

I further state that Iam a Special Agent with the Bureau of Alcohol Tobacco
Firearms and Explosives and that this complaint is based on the following facts:

SEE ATTACHMENT B

continued on the attached page and made a part hereof.

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Bureau of Alcohol Tobacco
Firearms & Explosives

Sworn to before me and subscribed in my presence,
January 7th, 2020 in Essex County, New Jersey

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HONORABLE LEDA DUNN WETTRE — ie cle ) _ J ek a
UNITED STATES MAGISTRATE JUDGE Signature of Judicial Officer

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ATTACHMENT A

Count One
(illegal Possession of a Machinegun)

On or about October 12, 2019, in Essex County, in the District of
New Jersey and elsewhere, defendant

LAMAR WEST

did knowingly possess a machinegun, that is, a .40 caliber Polymer 80 pistol,
bearing no serial number, equipped with the slide of a Glock 27, bearing serial
number BRZ864, with a clear extended magazine, as defined in Title 26, United
States Code, Section 5845(b).

In violation of Title 18, United States Code, Section 922(0) and 924(a}(2).
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ATTACHMENT B

I, Angel Casanova, am a Task Force Officer with the Bureau of Alcohol
Tobacco Firearms & Explosives (“ATF”). I am fully familiar with the facts set forth
herein based on my own investigation, my conversations with other law
enforcement officers, and my review of reports, documents, and items of
evidence. Where statements of others are related herein, they are related in
substance and part. Since this complaint is being submitted for a limited
purpose, I have not set forth each and every fact that I know concerning this
investigation. Where I assert that an event took place on a particular date, 1 am
asserting that it took place on or about the date alleged.

1. Law enforcement is investigating an armed robbery (the “Robbery”)
that occurred on December 5, 2019 at a cell phone store (“Store-1”) located on
McCarter Highway, in Newark. During the Robbery, two armed suspects (the
“Robbery Suspects”) removed a number of cellular devices (the “Devices”) from
Store-1’s safe.

2. Following the Robbery, law enforcement apprehended the Robbery
Suspects several blocks from Store-1 after they attempted to flee on foot froma
2018 white Ford Fusion (the “Vehicle”). A lawful search of the vehicle produced,
among other items, the Devices taken during the Robbery, as well as a wallet
containing a New Jersey I.D. for Lamar West (“WEST”).

3. Also recovered from the Vehicle was a .40 caliber Polymer 80 pistol,
bearing no serial number, equipped with the slide of a Glock 27, bearing serial
number BRZ864, with a clear extended magazine (the “Machinegun”). The
weapon recovered in the Vehicle matched the description of the weapon used in
the robbery.

4. Law enforcement later determined the Machinegun was fitted with a
Glock conversion device commonly referred to as “Glock Switch.” A Glock Switch
has the effect of converting a semiautomatic Glock pistol into a machinegun, as
defined in 26 U.S.C. § 5845(b)}, which is incorporated by reference by 18 U.S.C.
§ 921(a}(23). That is, it is a “part designed and intended solely and exclusively,
or combination of parts designed and intended, for use in converting a weapon
into a machinegun.”

= A search of WEST’s iPhone, obtained pursuant to a search warrant,
see Mag. No. 19-6151, revealed a text message exchange between WEST and
another individual on or about October 12, 2019. During the text exchange,
WEST sends two photos, taken from his iPhone, of the Machinegun, used during
the Robbery.
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6. In the text message exchange, WEST writes “it has a switch on the
back you can shoot one at a time or three at a time I’m out here acting crazy.”
WEST goes on to add “I paid 1200.”

7. The search warrant further revealed that the photos taken on
WEST’s iPhone were taken from a location within 100 feet of WEST’s home
address.
